ENTARED me oe oe
Case 2:29 HevODBOS- AP GOUNGELPARTIESOF REOOR.4 Filed 05/24/23 Page 1 of 1

MAY 24 2023 ,
K US DISTRICT COURT
oT ISTRICT OF NEVADA.

11 Tptoya Wallace lev _ ry

1613 Leopard Ln.

‘College Station, TX 77
40D Arar mo 2:23-cv-00809-APG-NJK

3 || floydwallacecivilrights@gmail.com

UNITED STATES DISTRICT COURT |
DISTRICT OF NEVADA

FLOYD WALLACE *) Case No.:
)
© Plaintiff, ) CERTIFICATE OF INTERESTED
: ) ‘PARTIES (LOCAL RULE 7.1-1)
)
|v. )
) :
||LAS VEGAS METROPOLITAN POLICE _)
DEPARTMENT, et. al )
)
Defendants. )
)
)

‘The undersigned, pro se party; certifies that the following may have a direct, pecuniary
interest in the outcome of this case: Ary employee or contractor of the State of Nevada due to
he the State of Nevada béing a Defendant. Any pro-police organization due tothe political .
affiliation of the Plaintiff.

|| DATED: May 18, 2023. Respectfully submitted,

Floyd Wallace
Floyd Wallace
1613 Leopard Ln.
College Station, TX'77840_—
an floydwallacecivilrights@gmail.com
(402) 347-0770
. Pro Se

ao tr bed vt
ee eae

